             Case 3:09-cr-04202-W                     Document 138                Filed 04/16/12              PageID.331              Page 1 of 2




~A0245D          (Rev. 3/01) Judgment in a Criminal Case for Revocations
                 Sheet 1


                                     UNITED STATES DISTRICT COURT
                                               SOUTHERN DISTRICT OF CALIFORNIA
               UNITED STATES OF AMERICA                                              JUDGMENT IN A CRIMINAL CASE
                                      v.                                             (For Revocation of Supervised Release)
                                                                                     (For Offenses Committed On or After November 1, 1987)
                       Lorenzo Cobarruvias (4)

                                                                                     CASE NUMBER: 09CR4202-W

                                                                                     Nathan Feneis, Federal Defenders Inc.
                                                                                     Defendant's Attorney
REGISTRATlON No.           29070298
THE DEFENDANT:
X   was found in violation based on his conviction                in 11 CR5200-JAH.
                                                                 ~~~~~~~-------------------------
ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following allegation(s) and orders supervised release revoked.

AlieKation Number                          Nature of Violation
One (nvI)                                  Committed Law Violation




       The defendant is sentenced as provided in pages 2 through                               _____..: :;2__ ofthis judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.



         IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any
change ofname1 residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this Judgment are fully
paid. If.ord~rea to pay restitution, the defendant shall notify the court and Umted States attorney of any material change in toe defendant's
economIC CIrcumstances.

                                                                                     APRIL 16 2012



                                                                                     THOMASJ.
         Case 3:09-cr-04202-W        Document 138        Filed 04/16/12     PageID.332      Page 2 of 2


AO 245B JUDGMENT IN A CRIMINAL CASE
        SHEET 2 - IMPRISONMENT
                                                                                 Judgment - Page 2 of     2
DEFENDANT: Lorenzo Cobarruvias (4)
CASE NUMBER:09CR4202-W

                                               IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned
for a term of 7 months, to run consecutive to the sentence imposed inll CR5200-JAH




                                                    RETURN
       I have executed this judgment as follows:
               Defendant delivered on _ _ _ _ _ _ to _ _ _ _ _ _ _ _ _ _ _ _ _ __

       at _ _ _ _ _ _, with a certified copy of this judgment.


                                                                          UNITED STATES MARSHAL

                                                                   By __~__~~~=_--~~~-
                                                                        Deputy United States Marshal
